Case 2:22-cv-04273-ES-MAH Document 1-2 Filed 06/24/22 Page 1 of 9 PageID: 10




              EXHIBIT “B”
      HUD-L-003889-21 05/19/2022 12:36:54 PM Pg 1 of 8 Trans ID: LCV20221953394
Case 2:22-cv-04273-ES-MAH Document 1-2 Filed 06/24/22 Page 2 of 9 PageID: 11




Daniel I. Winter, Esq. (001922007)
CULLEN AND DYKMAN, LLP
433 Hackensack Avenue, 12th floor
Hackensack, New Jersey 07601
(201) 488-1300
Attorneys for Defendant
THE STOP & SHOP SUPERMARKET COMPANY LLC s/h/a
STOP AND SHOP
Our File No.: 23001-142

JOVANKA PEGUERO,                                     SUPERIOR COURT OF NEW JERSEY

                       Plaintiff,                    LAW DIVISION: HUDSON COUNTY
vs.
                                                         DOCKET NO: HUD-L-3889-21
Stop & Shop, AND JOHN DOE I-III,
                                                                 CIVIL ACTION
                       Defendants.
                                                   ANSWER TO PLAINTIFF’S COMPLAINT
                                                         WITH JURY DEMAND




       Defendant, THE STOP & SHOP SUPERMARKET COMPANY LLC s/h/a
STOP AND SHOP by way of Answer to Plaintiff’s Complaint, says:



                                       FIRST COUNT

       1.     Denies having knowledge and information as to each and every allegation contained

in paragraph designated “1” of the FIRST COUNT of the Complaint and refers all questions of law

to the Honorable Court.

       2.     Denies upon information and belief as to each and every allegation contained in

paragraph designated “2” of the FIRST COUNT of the Complaint and refers all questions of law to

the Honorable Court.
     HUD-L-003889-21 05/19/2022 12:36:54 PM Pg 2 of 8 Trans ID: LCV20221953394
Case 2:22-cv-04273-ES-MAH Document 1-2 Filed 06/24/22 Page 3 of 9 PageID: 12




       3.      Denies upon information and belief as to each and every allegation contained in

paragraph designated “3” of the FIRST COUNT of the Complaint and refers all questions of law to

the Honorable Court.

       4.      Denies upon information and belief as to each and every allegation contained in

paragraph designated “4” of the FIRST COUNT of the Complaint and refers all questions of law to

the Honorable Court.

       5.      Denies having knowledge and information as to each and every allegation contained

in paragraph designated “5” of the FIRST COUNT of the Complaint.

       6.      Denies upon information and belief as to each and every allegation contained in

paragraph designated “6” of the FIRST COUNT of the Complaint as to the Answering Defendant,

denies having knowledge and information as to all other Defendants and refers all questions of law

to the Honorable Court.

       7.      Denies upon information and belief as to each and every allegation contained in

paragraph designated “7” of the FIRST COUNT of the Complaint as to the Answering Defendant,

denies having knowledge and information as to all other Defendants and refers all questions of law

to the Honorable Court.

       WHEREFORE, Defendant, THE STOP & SHOP SUPERMARKET COMPANY LLC
s/h/a STOP AND SHOP demands judgment dismissing the Complaint and awarding attorney’s
fees and costs of suit and any further relief the Court deems equitable and just.



                               FIRST AFFIRMATIVE DEFENSE

       If the Plaintiff suffered damages, the same were caused by the Plaintiff’s sole negligence.
     HUD-L-003889-21 05/19/2022 12:36:54 PM Pg 3 of 8 Trans ID: LCV20221953394
Case 2:22-cv-04273-ES-MAH Document 1-2 Filed 06/24/22 Page 4 of 9 PageID: 13




                                 SECOND AFFIRMATIVE DEFENSE

           If the Plaintiff suffered damages, the same were caused by the Plaintiff’s contributory

negligence.

                                  THIRD AFFIRMATIVE DEFENSE

           If the Plaintiff suffered damages, the same were caused by third parties over which the

Answering Defendant had no control.

                                FOURTH AFFIRMATIVE DEFENSE

           The Answering Defendant’s conduct was not negligent.



                                  FIFTH AFFIRMATIVE DEFENSE

           The Answering Defendant’s conduct was not the proximate cause of the Plaintiff’s alleged

damages.

                                      SIXTH AFFIRMATIVE DEFENSE


           At the time and place aforesaid, Plaintiff was negligent, barring or limiting recovery in

whole or in part and the Answering Defendant pleads the Comparative Negligence Statute as to all

parties.

                                SEVENTH AFFIRMATIVE DEFENSE


           The alleged damages complained of were due to unavoidable circumstances and causes

beyond the control or fault of the Answering Defendant.

                                 EIGHTH AFFIRMATIVE DEFENSE

           This action is barred by the Statute of Limitations.
     HUD-L-003889-21 05/19/2022 12:36:54 PM Pg 4 of 8 Trans ID: LCV20221953394
Case 2:22-cv-04273-ES-MAH Document 1-2 Filed 06/24/22 Page 5 of 9 PageID: 14




                               NINTH AFFIRMATIVE DEFENSE

       This case should be dismissed on the grounds that there is no personal jurisdiction over the

Answering Defendant.

                               TENTH AFFIRMATIVE DEFENSE

       Plaintiff’s complaint fails to state a cause of action.

                            ELEVENTH AFFIRMATIVE DEFENSE

       Plaintiff has recovered the costs of medical care, dental care, custodial care, rehabilitation

services, loss of earnings and other economical loss and any future such loss or expense will, with

reasonable probability, be replaced or indemnified in whole or in part from collateral sources. Any

award made to Plaintiff shall be reduced in accordance with the provisions of N.J.S.A. 2A:15-97.

                            TWELFTH AFFIRMATIVE DEFENSE

       The incident which forms the basis of this litigation and which allegedly caused the injuries

and damages to Plaintiff was proximately caused or contributed to by the fault of third parties which

are not parties to this suit. The responsibility of the Answering Defendant and the right of Plaintiff

to recover in this litigation can only be determined after the percentages of responsibility of all

parties, whether or not settled, to this litigation have been determined. Accordingly, the Answering

Defendant seeks an adjudication of the percentage of fault of the Plaintiff, and each and every

person whose fault contributed to this incident pursuant to R. 4:7-5(c) and Young v. Latta, 123 N.J.

584 (1991).

                            NOTICE TO PRODUCE DOCUMENTS

       PLEASE TAKE NOTICE that pursuant to Rule 4:18-1, request is hereby made of the

Plaintiff, by the Answering Defendant, that you produce true, complete and accurate copies of the

following documents to this office, within thirty (30) days of the date hereof:
      HUD-L-003889-21 05/19/2022 12:36:54 PM Pg 5 of 8 Trans ID: LCV20221953394
Case 2:22-cv-04273-ES-MAH Document 1-2 Filed 06/24/22 Page 6 of 9 PageID: 15




       1.      Copies of any prior discovery, including pleadings; motions; Orders; answers to

interrogatories; deposition transcripts; demand for documents; request for admissions; and

responses thereto exchanged between parties in this action, with attachments and/or amendments.



                        REQUEST FOR STATEMENT OF DAMAGES


TO:    ATTORNEY FOR PLAINTIFF

       PLEASE TAKE NOTICE that in accordance with Rule 4:5-2, the undersigned requests that

within five (5) days of service hereof upon you, you serve upon us a written statement of the amount

of damages claimed in the above-entitled action.



                            DESIGNATION OF TRIAL COUNSEL


Pursuant to R. 4:25-4, be advised that DANIEL I. WINTER, ESQ., has been assigned as trial
counsel on behalf of THE STOP & SHOP SUPERMARKET COMPANY LLC s/h/a STOP
AND SHOP in the above-captioned matter.


                        CERTIFICATION PURSUANT TO R.1:38-7(b)

       I certify that confidential personal identifiers have been redacted from documents now

submitted to the court and will be redacted from all documents submitted in the future in accordance

with Rule 1:38-7(b).
    HUD-L-003889-21 05/19/2022 12:36:54 PM Pg 6 of 8 Trans ID: LCV20221953394
Case 2:22-cv-04273-ES-MAH Document 1-2 Filed 06/24/22 Page 7 of 9 PageID: 16




                                      JURY DEMAND


       Defendant, THE STOP & SHOP SUPERMARKET COMPANY LLC s/h/a STOP

AND SHOP hereby demands a trial by jury on all issues.



                                           CULLEN AND DYKMAN, LLP

                                           /s/ Daniel I. Winter
                                    By:    _______________________________
                                           DANIEL I. WINTER, ESQ.

Dated: May 19, 2022
     HUD-L-003889-21 05/19/2022 12:36:54 PM Pg 7 of 8 Trans ID: LCV20221953394
Case 2:22-cv-04273-ES-MAH Document 1-2 Filed 06/24/22 Page 8 of 9 PageID: 17




                                 CERTIFICATION OF COUNSEL

       1.      Pursuant to Rule 4:5-1, the undersigned hereby certifies that at the time of filing of

this pleading, the matter in controversy is not the subject of any other action pending in any Court

and/or Arbitration proceeding.

       2.      I certify that the within pleading was filed within the time prescribed by the New

Jersey Court Rules and that the foregoing statements made by me are true. I am aware that if any of

the foregoing statements made by me are willfully false, I am subject to punishment.



                                              CULLEN AND DYKMAN, LLP

                                              /s/ Daniel I. Winter
                                      By:____________________________________
                                            DANIEL I. WINTER, ESQ.


Dated: May 19, 2022
     HUD-L-003889-21 05/19/2022 12:36:54 PM Pg 8 of 8 Trans ID: LCV20221953394
Case 2:22-cv-04273-ES-MAH Document 1-2 Filed 06/24/22 Page 9 of 9 PageID: 18




                                  CERTIFICATE OF MAILING

        I, DANIEL I. WINTER, ESQ., certify that on the 19th day of May 2022, I forwarded a copy

of the within ANSWER ON BEHALF OF THE STOP & SHOP SUPERMARKET

COMPANY LLC s/h/a STOP AND SHOP, SEPERATE DEFENSES, REQUEST FOR

DOCUMENTS, REQUEST FOR WRITTEN STATEMENT OF DAMAGES CLAIMED,

DESIGNATION OF TRIAL COUNSEL and JURY DEMAND to the following attorneys for

the respective parties hereto, via E-Filing:



                                    Michael T. Valentino, Esq.
                                AGRAPIDIS & MAROULES, P.C.
                                  777 Terrace Avenue – suite 504
                               Hasbrouck Heights, New Jersey 07604
                                      Attorney for Plaintiff


        I certify that the foregoing statements made by me are true. I am aware that if any of the

statements made by me are willfully false, I am subject to punishment.


                                                     CULLEN AND DYKMAN, LLP

                                                     /s/ Daniel I. Winter
                                                     ________________________________
                                                     DANIEL I. WINTER, ESQ.

Dated: May 19, 2022
